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INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement)

SETTLING SETTLOR:

COUNSEL:

SETTLEMENT FUND:

OTHER APPLICABLE PROVISIONS:

Frontier RV, Inc., Frontier RV Georgia, LLC,
Nautilus Insurance Company, Berkley Specialty
Underwriting Managers LLC, Arch Specialty
Insurance Company and Columbia Casualty
Company.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

Lyon H. Garrison, Bar No. 19591

Scott P. Yount, Bar No. 22679

Randall C. Mulcahy, Bar No. 26436

Kelly M. Morton, Bar No. 30645

Garrison, Yount, Forte, Mulcahy, & Lehner, L.L.C.
909 Poydras Street, Suite 1800

New Orleans, Louisiana 70112

Amount being deposited under seal per terms of
Memorandum of Understanding.

Memorandum of Understanding executed on
March 29, 2012.

Grd. Mppe 4-12-20)

Pl ntiffs’ Counsel Date

Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 2 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement)

SETTLING SETTLOR: Play’Mor Trailers, Inc. Nautilus Insurance
Company and Berkley Specialty Underwriting
Managers LLC.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasces as
more fully defined in the Stipulation of Settlement.

COUNSEL: Lyon H. Garrison, Bar No. 19591
Scott P. Yount, Bar No. 22679
Randall C. Mulcahy, Bar No. 26436
Kelly M. Morton, Bar No. 30645
Garrison, Yount, Forte, Mulcahy, & Lehner, L.L.C.
909 Poydras Street, Suite 1800
New Orleans, Louisiana 70112

SETTLEMENT FUND: Amount deposited under seal per terms of
Memorandum of Understanding.

OTHER APPLICABLE PROVISIONS: Memorandum of Understanding executed on
February 16, 2012.

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 3 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement)

SETTLING SETTLOR:

COUNSEL:

SETTLEMENT FUND:

OTHER APPLICABLE PROVISIONS:

P

Recreation by Design, LLC, TL Industries, Inc.,
Nautilus Insurance Company and Berkley Specialty
Underwriting Managers LLC.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

Lyon H. Garrison, Bar No. 19591

Scott P. Yount, Bar No. 22679

Randall C. Mulcahy, Bar No. 26436

Kelly M. Morton, Bar No. 30645

Garrison, Yount, Forte, Mulcahy, & Lehner, L.L.C.
909 Poydras Street, Suite 1800

New Orleans, Louisiana 70112

Amount deposited under seal per terms of
Memorandum of Understanding

Memorandum of Understanding executed on
January 20, 2012.

HE Ltr 4 lh- 2012.

tiffs’ Counsel Date
Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 4 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement)

NAME OF SETTLOR:

A. Manufacturers
(1) Coachmen Industries, Inc.
(2) Coachmen Recreational Vehicle Company, LLC
(3) Coachmen Recreational Vehicle Company of Georgia, LLC
(4) Viking Recreational Vehicles, LLC
(5) Coachmen RV Licensed Products Division, LLC
B. Insurers
(1) National Union Fire Insurance Company (AIG)
(2) Lexington Insurance Company
(3) Allied World Assurance
(4) American International Insurance Company
(5) St. Paul Surplus Lines Insurance Company
(6) Lexington Insurance Company
(7) Federal Insurance Company
(8) American International Specialty Lines
(9) Evanston Insurance Company
(10) Interstate Fire and Casualty Company

SETTLOR’S COUNSEL: John Stewart Tharp, Taylor Porter Brooks & Phillips LLP

SETTLEMENT AMOUNT: $1,000,974.16

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 5 of 22_

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR: Liberty Mutual Insurance Company, as alleged insurer of R- Vision, Inc.
SETTLOR’S COUNSEL:

Ralph S. Hubbard II

Kristopher M. Redmann

Kristopher T. Wilson

Anne E. Briard

LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD
601 Poydras Street, Suite 2775

New Orleans, Louisiana 70130

Telephone: (504) 568-1990

Attorneys for Liberty Mutual Insurance Company

SETTLEMENT AMOUNT: $750,000.00

OPT OUT THRESHOLD (Per Section VII):

OTHER APPLICABLE PROVISIONS:

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Settlors’ Counsel Date

Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 6 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement)

SETTLING SETTLOR: Cruiser RV, LLC, Doubletree RV, LLC, Nautilus
Insurance Company, Berkley Specialty
Underwriting Managers LLC, and Arch Specialty
Insurance.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

COUNSEL: Lyon H. Garrison, Bar No. 19591
Scott P. Yount, Bar No. 22679
Randall C. Muicahy, Bar No. 26436
Kelly M. Morton, Bar No. 30645
Garrison, Yount, Forte, Mulcahy, & Lehner, L.L.C.
909 Poydras Street, Suite 1800
New Orleans, Louisiana 70112

SETTLEMENT FUND: Amount being deposited under seal per terms of
Memorandum of Understanding.

OTHER APPLICABLE PROVISIONS: Memorandum of Understanding executed on
March 29, 2012.

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 7 of 22

INDIVIDUAL SETTLEMENT SHEET
(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR: Skyline Corporation (including its subsidiaries Layton Homes
Corp., Homette Corporation, and Skyline Homes, Inc.)

SETTLOR’S COUNSEL: Larry Feldman, Jr. & Robert D. Sheesley
McGlinchey Stafford, PLLC
12th Floor, 601 Poydras Street
New Orleans, LA 70130
Telephone: (504) 596-2887
Facsimile: (504) 910-9426

SETTLEMENT AMOUNT: Skyline Corporation (“Skyline”) deposited the full settlement
amount into the registry of the Court on March 29, 2012, pursuant to an order under seal granting
leave to deposit the funds (Doc. No. 25031).

OTHER APPLICABLE PROVISIONS: Skyline’s subsidiaries, Homette Corporation, and
Skyline Homes, Inc., are specifically included in the Settlement Agreement and the
Memorandum of Understanding ("MOU") dated March 8, 2012 for Skyline and Layton Homes
Corp. and included in this settlement. EHUs manufactured by Homette Corporation or Skyline
Homes, Inc. are included in the Stipulation of Settlement.

The terms and conditions of the MOU, including the amount of the settlement as well as the
individual amounts determined through the allocation process, shall be kept confidential by all
parties to the MOU, except as necessary to effectuate and finalize the settlement, as compelled or
required to do so by subpoena or other order of a court of competent jurisdiction, or as Skyline,
in its sole discretion, determines that it is advisable or required to do so under any statute, rule, or
regulation applicable to Skyline as a public corporation. The parties acknowledge that Skyline
may disclose the amount of the settlement in any report that Skyline may file with the Securities
Exchange Commission. All proceedings reflecting the terms and conditions of the MOU shall be
the subject of a request by the parties that the Court place such matters under seal. All parties
agree not to disclose to the media the amount, terms, or conditions of this settlement.

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Lobuc: Suslor April 12, 2012

Settlors’ Counsel Date

Individual Settlement Sheet for Skyline Corporation and Layton Homes Corp. (Exhibit A to
Stipulation of Settlement)
Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 8 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLORS:

Thor Industries, Inc.

Citair, Inc.

Damon Motor Coach

DS Corp., d/b/a CrossRoads RV
Dutchmen Manufacturing, Inc.,

Four Winds International, Inc.

Keystone RV Company

Komfort Corp.

Thor Industries, Inc.

Thor California, Inc., a.k.a., MPV RV, Inc.

Chartis Specialty Insurance Company (formerly known as American International
Specialty Lines Insurance Company)
National Union Fire Insurance Company of Pittsburg, Pa.

SETTLOR’S COUNSEL:

James C. Percy

Ryan E. Johnson

Jones Walker

8555 United Plaza Blvd., Fifth Floor
Baton Rouge, Louisiana 70809

(Counsel for Citair, Inc., Damon Motor Coach, DS Corp, Dutchmen Manufacturing, Inc.,
Four Winds International, Inc., Keystone RV Company, Komfort Corp., Thor Industries,
Inc., Thor California, a/k/a MPV RV, Inc.)

Charles E. Leche

Deutsche, Kerrigan & Stiles, L.L.P.

755 Magazine Street

New Orleans, Louisiana 70130

(Counsel for Chartis Specialty Insurance Company and National Union Fire Insurance
Company of Pittsburg, Pa.)

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 9 of 22

SETTLEMENT AMOUNT:

$6,250,000
OTHER APPLICABLE PROVISIONS:
This is Settlement Agreement is subject to and incorporates the provisions of the

February 10, 2012 Memorandum of Understanding executed between the parties.

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Plaintiffs’ Counsel Date
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Settlors” Counsel Date

(Ryan E. Jo sd )

Settlors’ Counsel Tr Date
(Charles E. Leche)

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 10 of 22

INDIVIDUAL SETTLEMENT SHEET
(EXHIBIT A to Stipulation of Settlement)

NAME OF SETTLORS: SunRay R.V., L.L.C., SunRay Investments, L.L.C. and the
Burlington Insurance Company

SETTLORS’ COUNSEL: Lamont P. Domingue, of Voorhies & Labbe, for SunRay R.V.,
L.L.C., and SunRay Investments, L.L.C.

Sidney W. Degan, III, and Mary K. Cryar, of Degan, Blanchard &
Nash, forthe Burlington Insurance Company

SETTLEMENT AMOUNT: $205,000.00

OPT OUT THRESHOLD (Per Section VI): 0

OTHER APPLICABLE PROVISIONS:

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unsel for SunRay R.V., L.L.C., and te
unRay Investments, L.L.C.

“Counsel for the Burlington Insurance Date
Company
Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 11 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLORS: Hy-Line Enterprises, Inc., a/k/a FRH, Inc., Hy-Line Enterprise
Holdings, Inc., Hy-Line Realty, Inc., Hy-Line Enterprises Realty, Inc., Hy-Line
Development Company, Inc., H L Enterprises, Inc., and its insurers The Burlington
Insurance Company, Nautilus Insurance Company, Axis Specialty Insurance Company

and Berkley Specialty Underwriting Managers, L.L.C.

SETTLOR’S COUNSEL: Thomas G. Buck, BLUE WILLIAMS, LLP

SETTLEMENT AMOUNT: $122,450.00
OTHER APPLICABLE PROVISIONS:
This is Settlement Agreement is subject to and incorporates the provisions of the

Memorandum of Understanding executed between the parties.

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Plaintiffs’ Counsel Date
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Settlors’ Counsét—— Date

(Thomas G. Buck)

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 12 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLORS:

Pilgrim International, Inc. (a bankruptcy entity, settlement subject to approval of United
States Bankruptcy Court)

Crum & Forster Specialty Insurance Company
Sentry Insurance a Mutual Company

The Burlington Insurance Company

SETTLOR’S COUNSEL:

Sidney J. Angelle

Eric B. Berger

Lobman, Carnahan, Batt & Angelle and Nader

400 Poydras Street

Suite 2300

New Orleans, Louisiana 70130

(Counsel for Crum & Forster Specialty Insurance Company)

Heidi Vogt

von Briesen & Roper, S.C.

411 East Wisconsin Avenue

Suite 700

Milwaukee, WI 53202

(Counsel for Sentry Insurance a Mutual Company)

Sidney W. Degan, III

Mary K. Cryar

Degan, Blanchard & Nash

400 Poydras Street

Suite 2600

New Orleans, Louisiana 70130

(Counsel for The Burlington Insurance Company)

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 13 of 22

$ 887,250, to be paid in the following shares:
Defendant. Amount
C&F Specialty $445,750
Sentry $276,500
Burlington $165,000

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* OTHER APPLICABLE PROVISIONS:.
This is Settlement Agreement is subject to and incorporates the provisions of the March
29, 2012 Memorandum of Understanding executed between the parties, This Settlement
Agreement includes Pilgrim International, Inc, a bankruptcy entity, and is conditioned upon
approval of the United States Bankruptcy Court for the Northern District of Indiana (Case

Number 08-33256 ), to the extent mC

a

Settlors’ Counsel Date
(Mary K. Cryar)

(Exbibit.A (individual Settlement Sheet) (B0789789).1} 2
Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 14 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLORS:

KZRV, LP
Sentry Insurance a Mutual Company
Lexington Insurance Company

SETTLOR’S COUNSEL:

James C. Percy

Ryan E. Johnson

Jones Walker

8555 United Plaza Blvd., Fifth Floor
Baton Rouge, Louisiana 70809
(Counsel for KZRV, LP)

Charles E. Leche

Deutsche, Kerrigan & Stiles, L.L.P.

755 Magazine Street

New Orleans, Louisiana 70130

(Counsel for Lexington Insurance Company)

Heidi Vogt

von Briesen & Roper, S.C.

411 East Wisconsin Avenue

Suite 700

Milwaukee, WI 53202

(Counsel for Sentry Insurance a Mutual Company)

SETTLEMENT AMOUNT:

$1, 250,000

(Wat: Blah, 8-20-12. Mecas Vest [ets _ ASAE
PlAyntifis” Counsel Date Settlor’s Cotinsél Date

(Heidi Vogt for Sentry)

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Settlor’s Counse J

Séttlor’s Cdyydsel Date
(Ryan E. Johnson for KZ)

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Date
(Charles E. Leche for
Lexington)
Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 15 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLORS: Timberland RV Company d/b/a Adventure Manufacturing

and Timberlodge Real Estate, L.L.C. and its insurer The Burlington Insurance Company

SETTLOR’S COUNSEL: Thomas G. Buck, BLUE WILLIAMS, LLP

SETTLEMENT AMOUNT: $443,300.00
OTHER APPLICABLE PROVISIONS:
This is Settlement Agreement is subject to and incorporates the provisions of the

Memorandum of Understanding executed between the parties.

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Settlors’ Cou Date

(Thomas G. Buck)

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 16 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLORS: Heartland Recreational Vehicles, L.L.C. and its insurers, The

Burlington Insurance Company and Westchester Insurance Company.

SETTLOR’S COUNSEL: Thomas G. Buck, BLUE WILLIAMS, LLP

SETTLEMENT AMOUNT: $552,600.00
OTHER APPLICABLE PROVISIONS:
This is Settlement Agreement is subject to and incorporates the provisions of the

Memorandum of Understanding executed between the parties.

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Settlors’ Counsel ~ Date

(Thomas G. Buck)

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 17 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR: Forest River, Inc., Vanguard Industries of
Michigan, Inc., Vanguard, LLC, their liability
insurers and all released parties as set forth in their

Memorandum of Understanding executed on May
25, 2012.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

SETTLOR’S COUNSEL: ERNEST P. GIEGER, JR. (6154)
ANDREW A. BRAUN (#3415)
J. MICHAEL DIGIGLIA (24378)
GIEGER, LABORDE & LAPEROUSE, L.L.C.
One Shell Square
701 Poydras Street, Suite 4800
New Orleans, Louisiana 70139-4800

SETTLEMENT AMOUNT: Amount being deposited under seal per terms of
Memorandum of Understanding executed on May
25, 2012.

OTHER APPLICABLE PROVISIONS: Memorandum of Understanding executed on May

25, 2012.
Plaintiffs’ Counsel Datc
hewt Jagr Hay2! v (OH.
Settlors’ Counsel Date

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 18 of 22

INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR:

SETTLOR’S COUNSEL:

SETTLEMENT AMOUNT:

OTHER APPLICABLE PROVISIONS:

Gulf Stream Coach, Inc., Fairmont Homes,
Inc., their liability insurers and all released
parties as set forth in their Memorandum of
Understanding executed on

May 24, 2012.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

ANDREW D. WEINSTOCK #18495
JOSEPH G. GLASS #25397

DUPLASS, ZWAIN, BOURGEOIS,
PFISTER & WEINSTOCK

3838 N. Causeway Boulevard, Suite 2900
Metairie, Louisiana 70002

and

Timothy D. Scandurro #18424
Dewey M. Scandurro #23291
SCANDURRO & LAYRISSON
607 St. Charles Avenue

New Orleans, LA 70130

Amount being deposited per terms of
Memorandum of Understanding.

Memorandum of Understanding executed on
May 24, 2012.

This settlement is subject to the following conditions which supplement, and supersede
where appropriate, the terms contained in the Stipulation of Settlement (R. Doc. 25226-1):

1. To ensure that there is no ambiguity, the terms concerning settlement relief
contained in Section HI.B. and concerning Notice Cost contained in Section V.D.
of the Stipulation of Settlement are intended to cap this Settlement Group’s
potential pro-rata contribution (divided by Settlement Groups) to a single
$35,000.00 cap for the cost of class notice and charges of the Special Master,

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 19 of 22

combined (i.e., if 16 Settlement Groups, $35,000/16 = $2,187.50 total potential
contribution for cost of class notice and charges of special master).

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Plaintiffs’ Counsel Date

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Settlors’ Counsel Date

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INDIVIDUAL SETTLEMENT SHEET

(Exhibit A to Stipulation of Settlement)

SETTLING SETTLOR: Jayco, Inc., Jayco Enterprises, Inc., Jayco Corp.,
Starcraft RV, Inc., Interstate Fire and Casualty
Company, Lexington Insurance Company,
Westchester Specialty Insurance Company and Arch
Specialty Insurance Company

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

COUNSEL: Thomas L. Cougill, Bar No. 04877300
R. Mark Willingham, Bar No. 21641500
Willingham, Fultz, & Cougill, LLP
Neil Esperson Building
808 Travis Street, Suite 1608
Houston, Texas 77002

SETTLEMENT FUND: Amount being deposited under seal per terms of
Memorandum of Understanding

OTHER APPLICABLE PROVISIONS: Memorandum of Understanding executed on May
8", 2012.

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INDIVIDUAL SETTLEMENT SHEET

(EXHIBIT A to Stipulation of Settlement )

NAME OF SETTLOR:

SETTLOR’S COUNSEL:

SETTLEMENT AMOUNT:

OTHER APPLICABLE PROVISIONS:

Monaco Coach Corporation, its liability

insurers and all released parties as set forth in its
Memorandum of Understanding executed on May
24, 2012.

Settling Settlor also includes, but is not limited to,
those Settlors, Released Parties, and/or Releasees as
more fully defined in the Stipulation of Settlement.

ANDREW D. WEINSTOCK #18495
JOSEPH G. GLASS #25397

DUPLASS, ZWAIN, BOURGEOIS,
PFISTER & WEINSTOCK.

3838 N. Causeway Boulevard, Suite 2900
Metairie, Louisiana 70002

Amount being deposited per terms of
Memorandum of Understanding.

Memorandum of Understanding executed on
May 24, 2012.

This settlement is subject to the following conditions which supplement, and supersede
where appropriate, the terms contained in the Stipulation of Settlement (R. Doc. 25226-1):

1, To ensure that there is no ambiguity, the terms concerning settiement relief
contained in Section III.B. and concerning Notice Cost contained in Section V.D.
of the Stipulation of Settlement are intended to cap this Settlement Group’s
potential pro-rata contribution (divided by Settlement Groups) to a single
$35,000.00 cap for the cost of class notice and charges of the Special Master,
combined (i.e., if 16 Settlement Groups, $35,000/16 = $2,187.50 total potential
contribution for cost of class notice and charges of special master).

2. The settlement of Monaco Coach Corporation is contingent upon approval of the
United States Bankruptcy Court for the District of Delaware.

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Plaintiffs’ Counsel Date

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Case 2:07-md-01873-KDE-MBN Document 25226-2 Filed 04/13/12 Page 22 of 22

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Settlors’ Counsel Date

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